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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


 ANDREW CORZO, SIA HENRY, ALEXANDER
 LEO-GUERRA, MICHAEL MAERLENDER,
 BRANDON PIYEVSKY, BENJAMIN SHUMATE,
 BRITTANY TATIANA WEAVER, and
 CAMERON WILLIAMS, individually and on
 behalf of all others similarly situated,

                              Plaintiffs,

                         v.

 BROWN UNIVERSITY, CALIFORNIA                         Case No.: 1:22-cv-00125
 INSTITUTE OF TECHNOLOGY, UNIVERSITY
                                                      Hon. Matthew F. Kennelly
 OF CHICAGO, THE TRUSTEES OF COLUMBIA
 UNIVERSITY IN THE CITY OF NEW YORK,
 CORNELL UNIVERSITY, TRUSTEES OF
 DARTMOUTH COLLEGE, DUKE UNIVERSITY,
 EMORY UNIVERSITY, GEORGETOWN
 UNIVERSITY, THE JOHNS HOPKINS
 UNIVERSITY, MASSACHUSETTS INSTITUTE
 OF TECHNOLOGY, NORTHWESTERN
 UNIVERSITY, UNIVERSITY OF NOTRE DAME
 DU LAC, THE TRUSTEES OF THE
 UNIVERSITY OF PENNSYLVANIA, WILLIAM
 MARSH RICE UNIVERSITY, VANDERBILT
 UNIVERSITY, and YALE UNIVERSITY,

                              Defendants.


  PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR MOTION TO
  LIMIT REDACTION OF DONOR NAMES AS TO NORTHWESTERN AND YALE
       Plaintiffs respectfully submit this Memorandum of Law in support of their Motion to

Limit Redaction of Donor Names as to Defendants Northwestern and Yale with the supporting

Local Rule 37.2 Statement.




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                                         INTRODUCTION
         Plaintiffs move the Court for an Order that all donor names in Northwestern and Yale’s

Donation Records (as Plaintiffs have defined them in their requests for production) should not be

redacted in Defendants’ document productions. Northwestern and Yale take the position that

donor names must be redacted from Donation Records under the Court’s Confidentiality and

FERPA Orders where revealing the names of the donors might reveal the identities of the donor-

linked applicants, such as where a donor is identified as the relative of the applicant. 1 Plaintiffs

maintain that even where a donor’s name might allow a reader to guess or identify the donor-

linked applicant, Defendants should still produce those names because (i) the Court has the

authority to order production of these names in unredacted form; (ii) production of these names

is directly relevant to Defendants’ affirmative defenses; (iii) production of these names will aid

the Court in determining whether Defendants should designate custodians in the President’s and

Development Offices so Plaintiffs can obtain discovery from these offices 2; and (iv) the Court

has visited this issue several times on multiple occasions.

         On October 26, 2022, the Court heard argument on Plaintiffs’ Motion Regarding

Confidentiality and FERPA. ECF Nos. 223, 230, 231. At the hearing, the Court stated, “I do not

believe that a donor name is an education record” and that is “about as close to a no-brainer as

anything we can get into here.” (Oct. 26 Hearing Tr. 27:9-10; 34:11-15; see also Oct. 26 Hearing

Tr. Tr. 41:8-9) (“And I’ve already told you that I don’t think a donor name is an education – or is

a student record. So there we go.”).) Plaintiffs raised concerns that defendants may still over-


1
  Other Defendants, including Dartmouth and Georgetown, also redact donor names in these
circumstances.
2
 While the Court held that Defendants were not required to designate custodians in the
President’s and Development Offices, Defendants have interpreted this ruling such that they are
not required to produce any discovery from these offices.

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                                                                              NULIT-
                 0000016918.
Exhibit A, 4/24/23 Email to S. Stein; Exhibit B, NULIT-0000016884; Exhibit C, NULIT-

0000016918. Plaintiffs also appended a list of Bates numbers of 170 documents discussing

donor-linked admissions that had donor names and/or other relevant information redacted. See

Exhibit A.

          On April 26, 2023, Northwestern responded on the issue of the redaction of donor names

stating that it properly



            Id. Northwestern also committed to producing an overlay for the two documents

discussed in the email to un-redact certain information about donors that was inadvertently

redacted—a donor’s employer and a donation amount. However, it would not agree to produce

the donor names from those documents.

          On April 27, 2023, Plaintiffs and Northwestern continued to exchange emails about their

respective positions. The Parties met and conferred on May 1, 2023 and agreed that the dispute is

ripe for resolution.

    II.      Communications with Yale
          On April 24, 2023, Plaintiffs sent a detailed letter to Yale’s counsel raising concerns

about improper redactions of Donation Records and explaining how Plaintiffs will be prejudiced

in its upcoming deposition of Joan O’Neill without access to the donor names. Plaintiffs

identified the following document excerpts as examples of where the absence of donor names

will prejudice Plaintiffs:




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                                            YALE_LIT_0000314439.




                 YALE_LIT_0000311380.
Exhibit D, 4/26/23 Email to J. Lee; Exhibit E, YALE_LIT_0000314439; Exhibit F,

Yale_LIT_0000311380. 5 Plaintiffs also appended a list of Bates numbers of 30 documents

concerning donor-linked admissions that had donor names and other relevant information

redacted. See id.

          Yale responded on May 1 asserting that it redacted donor names at times where required

by FERPA in circumstances where donor names could identify applicants, but otherwise did not

redact donor names where there was no clear linkage between the donor and an applicant.

Plaintiffs met and conferred with Yale on May 2, and Yale maintained that under FERPA and

the Confidentiality Order, it could not disclose donor names where such names might reveal the

identity of a donor-linked applicant. A Court order would be required to produce a different

result.




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    Exhibit F is an excerpt of YALE_LIT_0000311380.
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        Plaintiffs ask the Court to order Defendants Northwestern and Yale to produce Donation

Records that disclose, not redact, all donor names, even where the donor names might reveal the

identity of a donor-linked applicant.

                                          ARGUMENT
   I.      The Court May Order Production of Donation Records with Un-Redacted
           Donor Names Even Where Disclosing Such Names Could Identify a Student or
           Applicant.
        The Court has the authority to order production of education records protected by FERPA

containing personally identifiable information (PII). “FERPA permits disclosure of education

records without consent in compliance with a lawfully issued subpoena or judicial order. 34

C.F.R. § 99.31(a)(9)(i) and (ii); see also McDaniel v. Loyola Univ. Med. Ctr., 2015 WL

13901029, at *2 (N.D. Ill. Apr. 28, 2015) (“Disclosure of educational records is permitted under

FERPA if it is necessary to comply with a lawfully issued subpoena or judicial order.”).

        In order to obtain a court order for a party to release education records covered by

FERPA, the party seeking disclosure must “show that the interest in obtaining the records

outweighs the privacy interest of the student.” Id. Although “the rights of litigants to discover

and present relevant evidence in civil litigations is given great weight in federal courts” and “the

liberal discovery rules tend toward admitting as much evidence as possible so that the facts may

be accurately determined,” the party seeking discovery must meet a greater burden for discovery

of other kinds of information, like business records. Ragusa v. Malverne Union Free Sch. Dist.,

549 F. Supp. 2d 288, 292-93 (E.D.N.Y. 2008). Courts have found this burden satisfied when the

information sought was “directly relevant,” Daywalker v. Univ. of Tex. Med. Branch at

Galveston, 2021 WL 4099827, at *5 (S.D. Tex. Sept. 9, 2021), “relevant at least to some

degree,” Ragusa, 549 F. Supp. 2d at 293, and “clearly relevant” to the plaintiff’s claims,

Nastasia v. New Fairfield Sch. Dist., 2006 WL 1699599, at *1-*2 (D. Conn. June 19, 2006); see

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also McDaniel, 2015 WL 13901029, at *3 (finding the defendants’ interest in obtaining

education records satisfied “because the records are relevant to defendants’ affirmative defenses

as well as the damages at issue”).

   II.      Donor Names Are Relevant to Plaintiffs’ Claims and Defendants’ Affirmative
            Defenses and Outweigh Any Privacy Interests.
         The Court has repeatedly commented on the plausibility of Plaintiffs’ theory of the case,

and Plaintiffs’ right to pursue it. (See, e.g., Feb. 8 Hearing Tr. 41:18-21 (the Court explains that it

“already ruled on [the relevance of evidence of wealth favoritism as to all Defendants] in the

motion dismiss”).) The Court stated that “a significant part of [Plaintiffs’] case is trying to get at

. . . the nexus between a student and the family’s finances, which may include donations or

contributions and admission practices.” (Oct. 26 Hearing Tr. 12:5-10.) Plaintiffs are therefore

entitled to discovery on donor-linked admissions, including Donation Records with donor names

because otherwise, as the Court stated, Plaintiffs would “be[] prevented from finding evidence

that would either support or refute [their] claims.” (Id. at 12:14-18.)

         Plaintiffs require access to donor names contained in Donation Records in order to

demonstrate that Defendants’ participation in the 568 Cartel was not with “pure altruistic

motive” and sought to maximize revenue. In United States v. Brown University, 5 F.3d 658 (3d

Cir. 1991), the Third Circuit explained that it would apply a rule of reason analysis rather than a

per se analysis in evaluating whether MIT’s participation in the Overlap Group, the predecessor

to the 568 Group, violated antitrust laws. Id. at 672. The Third Circuit reasoned that because

MIT alleged that its participation in the Overlap Group derived from “pure altruistic motive and

[] absence of a revenue maximizing purpose,” per se analysis was inappropriate and the district

court needed to evaluate the veracity of MIT’s claims of altruism. Id. Thus, any evidence

regarding donor preferences in admissions and the use of donations and donor preferences to


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maximize revenue rather than promote social justice cuts to the heart of the case insofar as it

contributes to the determination of the standard of review applied at summary judgment and trial

and whether Defendants ultimately violated the antitrust laws. Plaintiffs are entitled to show that

Defendants’ participation in 568 was not justified on pro-social grounds where Defendants were

effectively selling seats in order to maximize endowments and inflate the prestige of their

universities. Detailed information about donors linked to applicants, communications between

Defendants and applicant-linked donors, and any restrictions set forth in donations linked to

applicants will allow Plaintiffs to advance this claim.

       Plaintiffs have a critical need for Donation Records without redaction of the names of

donors because this information is of central importance to attacking Defendants’ defense that

their actions are exempt from the antitrust laws under Section 568. Section 568 confers antitrust

immunity only where all institutions agreeing on common financial aid principles admit all

students on a need-blind basis. Plaintiffs allege that Defendants engage in wealth favoritism,

thereby giving an admissions preference to applicants connected to past, present, and prospective

donors. See, e.g., Am. Compl. ¶¶ 134, 173-74, 177-78. Although Northwestern and Yale have

withdrawn Section 568 as a defense asserted in their Answers to Plaintiffs’ Second Amended

Complaint, the Court recognized that “the proposition that by some but not all defendants

withdrawing the defense, you’ve essentially removed yourselves from the need to provide

discovery on these points really is not accurate. It’s not right. It’s incorrect.” (Feb. 8, 2023

Hearing Tr. 42:4-8.) For this reason, the Court held that evidence of donor preference is still

relevant because “everybody within the [568 President’s Group] has to have been complying

with 568 in order for anybody to take advantage of it;” “[i]t’s hornbook law of conspiracy.” (Feb.

8, 2023 Hearing Tr. 41:18-25.) Accordingly, any evidence demonstrating that Northwestern and



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Yale engaged in wealth favoritism allows Plaintiffs to attack the remaining eleven Defendants’

affirmative defense that invokes the exemption.

       Without access to donor names, it will be impossible to depose relevant witnesses about

donors identified in Donation Records. Using Northwestern and Plaintiffs’ upcoming deposition

of former president Morton Schapiro as an example, it will be impossible to question Dr.

Schapiro as to whether he engaged in any conversations with a particular donor identified in the

document previously referenced that states,



                                  Plaintiffs will be unable to determine whether Dr. Schapiro or

any other Northwestern official explicitly discussed an increased probability of admissions for

family members when soliciting or accepting donations from this donor or whether there was any

negotiation as to a donation sufficient to confer an admissions preference or guarantee because

Dr. Schapiro will have no idea to whom Plaintiffs are referring.

       Redaction of donor names also makes it impossible for Plaintiffs to track a particular

donor across documents and universities. Although donor-connected applicants and students will

have unique identifiers in Donation Records, donors will not. Plaintiffs are thus unable to

determine whether a particular donor was able to influence the admissions decisions of many

family members and friends and whether the donation was actually made suggesting a quid pro

quo. For instance, in one Yale document that appears to track applicants identified by the

Development Office, the description of an applicant reads

                            Exhibit F, YALE_LIT_00003111105.

                                                        Plaintiffs are unable to determine

whether this donor ever subsequently made a pledge, donation, or bequest to Yale at or around



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the time of the applicant’s admission or whether any Yale officials had any conversations

discussing as much with the donor.

       The Court has already recognized the importance to Plaintiffs’ case of donors linked to

applicants and ruled that Plaintiffs are entitled to prove their case. In holding that donor names

alone are not education records within the meaning of FERPA, the Court recognized that “the

nexus between a student and family’s finances” was “a significant part of [Plaintiffs’] case.”

(Oct. 26 Tr. 12:5-11; see also Feb. 8 Tr. 42:14-15) (“[Discovery on donor-linked admission] is

relevant. The motion is denied.”).) Redaction of donor names from Donation Records will

hamstring Plaintiffs in their ability to determine whether donor-linked applicants were given an

admissions preference, the level of giving required to obtain an admissions preference, and any

donation solicitations by Defendants that were of a quid pro quo nature.

       Moreover, the privacy interest here is limited at best. FERPA was never enacted to

protect institutions of higher education seeking to maximize their financial return from donors by

effectively selling seats at their elite universities and giving preference to the wealthy in

admissions. Regardless, any donor-linked applicants whose identities might potentially be

deduced by revealing their connected donor’s name will still be protected by the Confidentiality

Order. All such documents may still be properly designated as Confidential, thereby protecting

the document from disclosure to the public. See Confidentiality Order, ECF No. 254, at 5.

Further, Defendants may designate any deposition testimony involving any donor names as

confidential and/or attorneys’ eyes only under the Order. See id. at 4-5.

       It should therefore be apparent to the Court that Defendants’ redactions are meant to

avoid embarrassment and liability for violating Section 568 and engaging in secret price-fixing,

and to shield their Presidents and their development offices, rather than to avoid revealing



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confidential information about students which will in all events remain confidential by the Court-

entered Confidentiality Order. As the Court previously noted, while revealing donor names

“might be embarrassing to the universities, [] it’s not a privacy interest.” (Oct. 26 Tr. 28:7-8.)

   III.      Disclosure of Donor Names Will Assist the Court in Determining Whether to
             Order Defendants to Designate Custodians in the President’s and Development
             Offices.
          On March 8, 2023, the Court ruled that Defendants need not designate custodians from its

President or Development Offices, but that such ruling was without prejudice. ECF No. 330. If,

for instance, depositions revealed that there were documents relevant to donor-linked admissions

and wealth favoritism not yet produced and housed exclusively in one of these offices, the Court

would entertain a renewed motion compelling some or all defendants to designate custodians in

these offices. (Oct. 26 Tr. 40:22-25.) The redaction of donor names will make the identification

and deposition of witnesses likely to know whether relevant documents exist in these offices

much more difficult. Plaintiffs will be unable to refer to donors connected to applicants by name

and thus witnesses will be unable to determine whether any documents related to those donors

exist in the Development and President’s Offices.

          For example, at the forthcoming deposition of Northwestern’s former President Schapiro,

Plaintiffs envision a scenario in which Plaintiffs are unable to establish with any specificity

which relevant documents may be the President’s or Development Offices because Plaintiffs

cannot ask, and the deponent cannot answer, questions about any specific donors and documents

related to their donations. A Court order requiring Defendants to disclose donor names will allow

for far more productive depositions and will also create a full record that will allow the Court to

make a ruling that discovery within the Development and/or President’s Offices is warranted.




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                                            CONCLUSION
       Plaintiffs request, for the foregoing reasons, that the Court enter an Order directing

Defendants Northwestern and Yale University to remove redactions of the names of donors from

all Donation Records.



 Dated: May 8, 2023                                        Respectfully Submitted,


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